      Case 4:20-cv-02078-MWB Document 152-1 Filed 11/16/20 Page 1 of 2




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                   :
PRESIDENT, INC., et al,               : CIVIL ACTION
                                      :
      Plaintiffs,                     : No. 4:20-cv-02078
                                      :
      v.                              : Judge Brann
                                      :
KATHY BOOCKVAR, et al,                :
                                      :
      Defendants                      :

                                     ORDER

      AND NOW, this ___ day of November, 2020, upon consideration of the

Motion of Plaintiffs to continue the oral argument and hearing on the Motions to

Dismiss and the Motion for Temporary Restraining Order, the Motion is hereby

GRANTED.

      Oral argument, scheduled for Tuesday, November 17, 2020 at 1:30 PM is

hereby continued until further Order of Court. In place of argument, and at the

time previously scheduled for argument, the Court will hold a conference call with

counsel to discuss disposition of pending motions.

      The evidentiary hearing scheduled for Thursday, November 19, 2020 at

10:00 AM is hereby continued until further Order of Court.

                                             BY THE COURT,


                                    Page 1 of 2
Case 4:20-cv-02078-MWB Document 152-1 Filed 11/16/20 Page 2 of 2




                                    ______________________
                                    MATTHEW W. BRANN
                                         DISTRICT JUDGE




                           Page 2 of 2
